19 F.3d 11
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.George J. HUBBARD, Petitioner Appellant,v.Edward W. MURRAY, Director, Respondent Appellee.
    No. 93-6959.
    United States Court of Appeals, Fourth Circuit.
    Submitted:  Dec. 10, 1993.Decided:  March 4, 1994.
    
      Appeal from the United States District Court for the Eastern District of Virginia, at Richmond.  Robert R. Merhige, Jr., Senior District Judge.  (CA-93-250-R)
      George J. Hubbard, Appellant Pro Se.
      Robert Quentin Harris, Assistant Attorney General, Richmond, VA, for Appellee.
      E.D.Va.
      DISMISSED.
      Before WILKINSON and LUTTIG, Circuit Judges, and SPROUSE, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Appellant seeks to appeal from the district court's order denying relief on his 28 U.S.C. Sec. 2254 (1988) petition.  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we deny a certificate of probable cause to appeal and dismiss on the reasoning of the district court.  Hubbard v. Murray, No. CA-93-250-R (E.D. Va.  Aug. 6, 1993).  We deny Appellant's motion for evidentiary hearing and dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    